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            UNITED STATES DISTRICT COURT
           FOR THE DISTRICT OF MINNESOTA


United States of America,

             v.                                CHANGE OF PLEA NOTICE

                                               Case Number Crim. 12-295 PAM
Julie Ann Campana



       (x) TAKE NOTICE That a proceeding in this case has been set for the place, date
and time set forth below:

                               Courtroom 7D (7th Floor)
                                  316 North Robert St.
                               St. Paul, Minnesota 55101

Before the Honorable Paul A. Magnuson on Tuesday, April 2, 2013 @ 11:00 PM for
change of plea hearing.




                                               RICHARD SLETTEN, CLERK
Dated: March 22, 2013
                                               s/Suzanne M. Ruiz
                                               Suzanne M. Ruiz, Calendar Clerk

cc:   Allen A. Slaughter - A.U.S.A.
      Amber M. Brennan - A.U.S.A.
      Andrew H. Mohring
      U.S. Marshal
      U.S. Probation
      U.S. Pretrial Services
